Fill in this information to identify your case:

United States Bankruptcy Court for the:

EASTERN DISTRICT OF WASHINGTON

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Underground Creative, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed          FDBA Underground Creative, Inc.
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  11 South Benton Street
                                  Suite A
                                  Kennewick, WA 99336
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Benton                                                          Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
                24-00850-WLH11                Doc 1        Filed 05/28/24             Entered 05/28/24 10:41:14                  Pg 1 of 40
Debtor    Underground Creative, LLC                                                                     Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 5414

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
     A debtor who is a “small             Chapter 9
     business debtor” must check          Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                     The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                      noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                   $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                              operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                                exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                                  The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                  debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                  proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                  balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                  any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                  A plan is being filed with this petition.
                                                                  Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                                  The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                                  The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                  When                                  Case number
                                                 District                                  When                                  Case number




Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                  page 2
                 24-00850-WLH11                   Doc 1          Filed 05/28/24           Entered 05/28/24 10:41:14                        Pg 2 of 40
Debtor    Underground Creative, LLC                                                                       Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor                                                                    Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.
                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                               5001-10,000                                 50,001-100,000
                                           50-99
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities                  $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion

Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 3
                 24-00850-WLH11                       Doc 1         Filed 05/28/24            Entered 05/28/24 10:41:14                      Pg 3 of 40
Debtor   Underground Creative, LLC                                                    Case number (if known)
         Name

                             $50,001 - $100,000                           $10,000,001 - $50 million            $1,000,000,001 - $10 billion
                             $100,001 - $500,000                          $50,000,001 - $100 million           $10,000,000,001 - $50 billion
                             $500,001 - $1 million                        $100,000,001 - $500 million          More than $50 billion




Official Form 201                    Voluntary Petition for Non-Individuals Filing for Bankruptcy                                       page 4
                24-00850-WLH11         Doc 1         Filed 05/28/24        Entered 05/28/24 10:41:14               Pg 4 of 40
Debtor    Underground Creative, LLC                                                                Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      5/17/2024
                                                  MM / DD / YYYY


                             X /s/ Michael Page                                                           Michael Page
                             Signature of authorized representative of debtor                             Printed name


                             X /s/ Jerrod Lindblom________________________                               Jerrod Lindblom        ______________________
                             Signature of authorized representative of debtor                             Printed name
                                 Title Co-Owner & Members


18. Signature of attorney    X /s/ Dan O'Rourke                                                            Date 5/17/2024
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Dan O'Rourke
                                 Printed name

                                 Southwell & O'Rourke, P.S.
                                 Firm name

                                 421 W. Riverside Avenue
                                 Suite 960
                                 Spokane, WA 99201
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     509-624-0159                  Email address      dorourke@southwellorourke.com

                                 4911 WA
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 5
                 24-00850-WLH11               Doc 1        Filed 05/28/24             Entered 05/28/24 10:41:14                     Pg 5 of 40
                                                 United States Bankruptcy Court
                                                 Eastern District of Washington

In re:   UNDERGROUND CREATIVE, LLC                                                            Case No.
                                                                                              Chapter 11

                             STATEMENT REGARDING AUTHORITY TO SIGN AND FILE PETITION

        We, Michael Page and Jerrod Lindblom, declare under penalty of perjury that we are the Members and Managers of
Underground Creative, LLC a Limited Liability Company, and that on March 17, 2024, the following resolution was duly adopted
by the Board of Directors of this Limited Liability Company.

       “Whereas, it is in the best interest of this Limited Liability Company to file a voluntary petition in the United States
Bankruptcy Court pursuant to Chapter 7 of Title 11 of the United States Code;

        Be It Therefore Resolved, that Michael Page, Member and Manager, of this Limited Liability Company, is authorized and
directed to execute and deliver all documents necessary to perfect the filing of a Chapter 7 voluntary bankruptcy case on behalf of
the Limited Liability Company; and

        Be It Further Resolved, that, Michael Page, Member and Manager, of this Limited Liability Company, is authorized and
directed in all bankruptcy proceedings on behalf of the Limited Liability Company, and to otherwise do and perform all acts and
deeds and to execute and deliver all necessary documents on behalf of the Limited Liability Company in connection with such
bankruptcy case; and

        Be It Further Resolved, that Michael Page, Member and Manager, of this Limited Liability Company, is authorized and
directed to employ Southwell & O’Rourke, P.S., to represent the Limited Liability Company in such bankruptcy case.”



Executed on: 5/17/24_                                      Signed: /s/ Michael Page
                                                                   MICHAEL PAGE, Member/Manager




Executed on: 5/17/24_                                      Signed: /s/ Jerrod Lindblom
                                                                   JERROD LINDBLOM, Member/Manager




              24-00850-WLH11            Doc 1     Filed 05/28/24       Entered 05/28/24 10:41:14             Pg 6 of 40
Fill in this information to identify the case:

Debtor name         Underground Creative, LLC

United States Bankruptcy Court for the:     EASTERN DISTRICT OF WASHINGTON

Case number (if known)
                                                                                                                            Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

              Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

              Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

              Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

              Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

              Schedule H: Codebtors (Official Form 206H)

              Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
              Amended Schedule
              Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
              Other document that requires a declaration    Schedules I and J

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       5/17/2024                       X /s/ Michael Page
                                                           Signature of individual signing on behalf of debtor

                                                            Michael Page
                                                            Printed name

                                                          X /s/ Jerrod Lindblom
                                                            Signature of Individual signing on behalf of debtor
                                                           Jerrod Lindblom_________________________________________________________________
                                                            Printed name
                                                           Co-Owners & Member________
                                                           Position or relationship to debtor
Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors




           24-00850-WLH11                  Doc 1         Filed 05/28/24            Entered 05/28/24 10:41:14                  Pg 7 of 40
Fill in this information to identify the case:

Debtor name           Underground Creative, LLC

United States Bankruptcy Court for the:                      EASTERN DISTRICT OF WASHINGTON

Case number (if known)
                                                                                                                                                                                     Check if this is an
                                                                                                                                                                                     amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                12/15

Part 1:     Summary of Assets


1.   Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

     1a. Real property:
         Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

     1b. Total personal property:
         Copy line 91A from Schedule A/B.........................................................................................................................                     $           101,895.23

     1c. Total of all property:
         Copy line 92 from Schedule A/B...........................................................................................................................                    $           101,895.23


Part 2:     Summary of Liabilities


2.   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $           137,368.02


3.   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

     3a. Total claim amounts of priority unsecured claims:
         Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $              8,525.86

     3b. Total amount of claims of nonpriority amount of unsecured claims:
         Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$           387,560.37


4.   Total liabilities .......................................................................................................................................................
     Lines 2 + 3a + 3b                                                                                                                                                           $             533,454.25




Official Form 206Sum                                             Summary of Assets and Liabilities for Non-Individuals                                                                                page 1




              24-00850-WLH11                                 Doc 1              Filed 05/28/24                         Entered 05/28/24 10:41:14                                 Pg 8 of 40
Fill in this information to identify the case:

Debtor name         Underground Creative, LLC

United States Bankruptcy Court for the:     EASTERN DISTRICT OF WASHINGTON

Case number (if known)
                                                                                                                                      Check if this is an
                                                                                                                                      amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                     12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
        Yes Fill in the information below.
     All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                      debtor's interest

3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
          Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                           number


          3.1.     Deposits of Money                                                                                                                $4,667.48




          3.2.     Lease Security Deposit                                                                                                             $800.00



4.        Other cash equivalents (Identify all)

5.        Total of Part 1.                                                                                                                      $5,467.48
          Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

       No. Go to Part 3.
       Yes Fill in the information below.


Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

       No. Go to Part 4.
       Yes Fill in the information below.

11.       Accounts receivable

Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                                                         page 1



            24-00850-WLH11                  Doc 1       Filed 05/28/24           Entered 05/28/24 10:41:14                        Pg 9 of 40
Debtor       Underground Creative, LLC                                                       Case number (If known)
             Name


          11a. 90 days old or less:                     81,827.75       -                                   0.00 = ....                   $81,827.75
                                       face amount                             doubtful or uncollectible accounts




12.       Total of Part 3.                                                                                                            $81,827.75
          Current value on lines 11a + 11b = line 12. Copy the total to line 82.

Part 4:      Investments
13. Does the debtor own any investments?

      No. Go to Part 5.
      Yes Fill in the information below.


Part 5:      Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

      No. Go to Part 6.
      Yes Fill in the information below.


Part 6:      Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

      No. Go to Part 7.
      Yes Fill in the information below.


Part 7:      Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

      No. Go to Part 8.
      Yes Fill in the information below.

          General description                                               Net book value of         Valuation method used     Current value of
                                                                            debtor's interest         for current value         debtor's interest
                                                                            (Where available)

39.       Office furniture
          Office Furniture                                                                 $0.00                                           $2,500.00


          Office Equipment                                                                 $0.00                                          $12,100.00



40.       Office fixtures

41.       Office equipment, including all computer equipment and
          communication systems equipment and software

42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
          books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
          collections; other collections, memorabilia, or collectibles

43.       Total of Part 7.                                                                                                               $14,600.00
          Add lines 39 through 42. Copy the total to line 86.

44.       Is a depreciation schedule available for any of the property listed in Part 7?
             No
             Yes

Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                           page 2



           24-00850-WLH11                  Doc 1        Filed 05/28/24             Entered 05/28/24 10:41:14                  Pg 10 of 40
Debtor        Underground Creative, LLC                                                    Case number (If known)
              Name



45.        Has any of the property listed in Part 7 been appraised by a professional within the last year?
              No
              Yes

Part 8:       Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

      No. Go to Part 9.
      Yes Fill in the information below.


Part 9:       Real property
54. Does the debtor own or lease any real property?

      No. Go to Part 10.
      Yes Fill in the information below.


Part 10:      Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

      No. Go to Part 11.
      Yes Fill in the information below.


Part 11:      All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

      No. Go to Part 12.
      Yes Fill in the information below.

                                                                                                                      Current value of
                                                                                                                      debtor's interest


71.        Notes receivable
           Description (include name of obligor)

72.        Tax refunds and unused net operating losses (NOLs)
           Description (for example, federal, state, local)

73.        Interests in insurance policies or annuities

74.        Causes of action against third parties (whether or not a lawsuit
           has been filed)

75.        Other contingent and unliquidated claims or causes of action of
           every nature, including counterclaims of the debtor and rights to
           set off claims
           Claim against Samson MCA, LLC for breach of contract
           and other claims.                                                                                                     Unknown
           Nature of claim
           Amount requested                                      $0.00



76.        Trusts, equitable or future interests in property

77.        Other property of any kind not already listed Examples: Season tickets,
           country club membership




Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                  page 3



            24-00850-WLH11                 Doc 1       Filed 05/28/24            Entered 05/28/24 10:41:14          Pg 11 of 40
Debtor      Underground Creative, LLC                                               Case number (If known)
            Name


78.      Total of Part 11.                                                                                                 $0.00
         Add lines 71 through 77. Copy the total to line 90.

79.      Has any of the property listed in Part 11 been appraised by a professional within the last year?
            No
            Yes




Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                         page 4



          24-00850-WLH11                 Doc 1        Filed 05/28/24       Entered 05/28/24 10:41:14         Pg 12 of 40
Debtor          Underground Creative, LLC                                                                           Case number (If known)
                Name



Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                    Current value of real
                                                                                                    personal property                   property

80. Cash, cash equivalents, and financial assets.
    Copy line 5, Part 1                                                                                              $5,467.48

81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

82. Accounts receivable. Copy line 12, Part 3.                                                                     $81,827.75

83. Investments. Copy line 17, Part 4.                                                                                      $0.00

84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

86. Office furniture, fixtures, and equipment; and collectibles.
    Copy line 43, Part 7.                                                                                          $14,600.00

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

91. Total. Add lines 80 through 90 for each column                                                            $101,895.23           + 91b.                      $0.00


92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $101,895.23




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                       page 5



             24-00850-WLH11                          Doc 1            Filed 05/28/24                    Entered 05/28/24 10:41:14                      Pg 13 of 40
Fill in this information to identify the case:

Debtor name         Underground Creative, LLC

United States Bankruptcy Court for the:           EASTERN DISTRICT OF WASHINGTON

Case number (if known)
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                  12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
        No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.
Part 1:     List Creditors Who Have Secured Claims
                                                                                                                 Column A                    Column B
2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
claim, list the creditor separately for each claim.                                                              Amount of claim             Value of collateral
                                                                                                                                             that supports this
                                                                                                                 Do not deduct the value     claim
                                                                                                                 of collateral.
2.1   First Interstate Bank                        Describe debtor's property that is subject to a lien                   $58,618.02                $96,427.00
      Creditor's Name                              Accounts, Office Furniture, and Equipment
      8127 W. Grandridge Blvd
      Kennewick, WA 99336
      Creditor's mailing address                   Describe the lien

                                                   Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known               Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                          No
                                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an                As of the petition filing date, the claim is:
      interest in the same property?               Check all that apply
          No                                          Contingent
          Yes. Specify each creditor,                 Unliquidated
      including this creditor and its relative        Disputed
      priority.



2.2   Samson MCA, LLC                              Describe debtor's property that is subject to a lien                   $78,750.00                $23,209.00
      Creditor's Name                              Accounts ($81,827 - $58,618)
      17 State Street
      6th Floor
      New York, NY 10004
      Creditor's mailing address                   Describe the lien

                                                   Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known               Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                          No
                                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an                As of the petition filing date, the claim is:
      interest in the same property?               Check all that apply



Official Form 206D                               Schedule D: Creditors Who Have Claims Secured by Property                                                page 1 of 2




            24-00850-WLH11                       Doc 1        Filed 05/28/24                Entered 05/28/24 10:41:14                  Pg 14 of 40
Debtor      Underground Creative, LLC                                                          Case number (if known)
            Name

          No                                        Contingent
          Yes. Specify each creditor,               Unliquidated
      including this creditor and its relative      Disputed
      priority.



3.   Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.          $137,368.02

Part 2:   List Others to Be Notified for a Debt Already Listed in Part 1
List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for secured creditors.

If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
        Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                              you enter the related creditor?   account number for
                                                                                                                                                this entity




Official Form 206D                  Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                          page 2 of 2




           24-00850-WLH11                        Doc 1     Filed 05/28/24             Entered 05/28/24 10:41:14                        Pg 15 of 40
Fill in this information to identify the case:

Debtor name        Underground Creative, LLC

United States Bankruptcy Court for the:         EASTERN DISTRICT OF WASHINGTON

Case number (if known)
                                                                                                                                               Check if this is an
                                                                                                                                               amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                              12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

Part 1:      List All Creditors with PRIORITY Unsecured Claims

      1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

            No. Go to Part 2.

            Yes. Go to line 2.

      2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
         with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                 Total claim           Priority amount

2.1       Priority creditor's name and mailing address        As of the petition filing date, the claim is:                             $1,200.00         $1,200.00
          Jerrod Lindblom                                     Check all that apply.
          916 W. 24th Avenue                                     Contingent
          Kennewick, WA 99337                                    Unliquidated
                                                                 Disputed

          Date or dates debt was incurred                     Basis for the claim:
                                                              Wages
          Last 4 digits of account number                     Is the claim subject to offset?
          Specify Code subsection of PRIORITY                    No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                 Yes


2.2       Priority creditor's name and mailing address        As of the petition filing date, the claim is:                             $1,200.00         $1,200.00
          Michael Page                                        Check all that apply.
          7907 W. Falls Place                                    Contingent
          Kennewick, WA 99336                                    Unliquidated
                                                                 Disputed

          Date or dates debt was incurred                     Basis for the claim:
                                                              Wages
          Last 4 digits of account number                     Is the claim subject to offset?
          Specify Code subsection of PRIORITY                    No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                 Yes




Official Form 206E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                                      page 1 of 5
                                                                                                              55558



             24-00850-WLH11                    Doc 1        Filed 05/28/24                  Entered 05/28/24 10:41:14                      Pg 16 of 40
Debtor       Underground Creative, LLC                                                                  Case number (if known)
             Name

2.3       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                                       $6,125.86   $6,125.86
          State of Washington                                  Check all that apply.
          Department of Revenue                                   Contingent
          1330 N. Washington St., Suite 5600                      Unliquidated
          Spokane, WA 99207                                       Disputed

          Date or dates debt was incurred                      Basis for the claim:


          Last 4 digits of account number                      Is the claim subject to offset?
          Specify Code subsection of PRIORITY                     No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                  Yes



Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
      3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
         out and attach the Additional Page of Part 2.
                                                                                                                                                     Amount of claim

3.1       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $936.92
          Callsource                                                             Contingent
          PO Box 60280                                                           Unliquidated
          Los Angeles, CA 90060-0280                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

3.2       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $2,714.59
          Fox KFFX                                                               Contingent
          6725 W. Clearwater Ave., Suite A                                       Unliquidated
          Kennewick, WA 99336                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

3.3       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $18,837.36
          Insight Accounting                                                     Contingent
          110 Gage Blvd Ste 100                                                  Unliquidated
          Richland, WA 99352                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

3.4       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $14,547.00
          Jacobs Radio                                                           Contingent
          2617 W. Falls Avenue                                                   Unliquidated
          Kennewick, WA 99336                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

3.5       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $13,237.50
          JamLoop                                                                Contingent
          1261 Locust St #72                                                     Unliquidated
          Walnut Creek, CA 94596                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                                       Page 2 of 5




            24-00850-WLH11                     Doc 1         Filed 05/28/24                  Entered 05/28/24 10:41:14                              Pg 17 of 40
Debtor      Underground Creative, LLC                                                       Case number (if known)
            Name

3.6      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $3,500.00
         Jerrod Lindblom                                              Contingent
         916 W. 24th Avenue                                           Unliquidated
         Kennewick, WA 99337                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.7      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $3,289.00
         KEPR/KIMA                                                    Contingent
         2807 W. Lewis                                                Unliquidated
         Pasco, WA 99301                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.8      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $10,802.50
         KNDU                                                         Contingent
         3312 W. Kennewick Avenue                                     Unliquidated
         Kennewick, WA 99336                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.9      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $36,141.15
         KVEW (Apple Valley Broadcasting)                             Contingent
         601 N. Edison Street                                         Unliquidated
         Kennewick, WA 99336                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.10     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Landon Center, LLC                                           Contingent
         4707 W. 20th Avenue                                          Unliquidated
         Kennewick, WA 99338                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Back Rent
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.11     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $3,500.00
         Michael Page                                                 Contingent
         7907 W. Falls Place                                          Unliquidated
         Kennewick, WA 99336                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.12     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $19,546.28
         Numerica Credit Union                                        Contingent
         14610 E. Sprague Avenue                                      Unliquidated
         Spokane Valley, WA 99216                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Line of Credit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 3 of 5




            24-00850-WLH11                 Doc 1           Filed 05/28/24         Entered 05/28/24 10:41:14                              Pg 18 of 40
Debtor      Underground Creative, LLC                                                       Case number (if known)
            Name

3.13     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $84,270.26
         OnDeck Financing                                             Contingent
         4700 W. Daybreak Parkway                                     Unliquidated
         Suite 200                                                    Disputed
         South Jordan, UT 84009
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.14     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $36,858.34
         Quickbooks Capital                                           Contingent
         2700 Coast Avenue                                            Unliquidated
         Mountain View, CA 94043                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.15     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $55,541.00
         Samson MCA, LLC                                              Contingent
         17 State Street                                              Unliquidated
         6th Floor
         New York, NY 10004                                           Disputed

         Date(s) debt was incurred                                 Basis for the claim:

         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.16     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $57,317.62
         Spectrum                                                     Contingent
         400 Columbia Point Drive                                     Unliquidated
         Richland, WA 99352                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.17     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $15,342.50
         Stephens Media                                               Contingent
         4304 W. 24th Ave., Suite 200                                 Unliquidated
         Kennewick, WA 99336                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.18     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                    $0.00
         Szabo Associates, Inc.                                       Contingent
         3355 Lenox Road NE, Suite 945                                Unliquidated
         Atlanta, GA 30326                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.19     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $4,174.35
         Townsquare Media                                             Contingent
         2621 W. A Street                                             Unliquidated
         Pasco, WA 99301                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 4 of 5




            24-00850-WLH11                 Doc 1           Filed 05/28/24         Entered 05/28/24 10:41:14                              Pg 19 of 40
Debtor       Underground Creative, LLC                                                              Case number (if known)
             Name

3.20      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                $3,694.00
          Tri Cities Journal of Business                                       Contingent
          8524 W. Gage Blvd A1-300                                             Unliquidated
          Kennewick, WA 99336                                                  Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim:
          Last 4 digits of account number
                                                                           Is the claim subject to offset?         No     Yes

3.21      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                $2,250.00
          Tu Decides                                                           Contingent
          1 West Yakima Avenue                                                 Unliquidated
          Yakima, WA 98902                                                     Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim:
          Last 4 digits of account number
                                                                           Is the claim subject to offset?         No     Yes

3.22      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                $1,060.00
          Yakima Herald                                                        Contingent
          114 N. 4th Street                                                    Unliquidated
          Yakima, WA 98901                                                     Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim:
          Last 4 digits of account number
                                                                           Is the claim subject to offset?         No     Yes



Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

          Name and mailing address                                                                  On which line in Part1 or Part 2 is the          Last 4 digits of
                                                                                                    related creditor (if any) listed?                account number, if
                                                                                                                                                     any
4.1       Callsource
          5601 Lindero Canyon Road                                                                  Line     3.1
          Suite 210
                                                                                                           Not listed. Explain
          Westlake Village, CA 91362


Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                        Total of claim amounts
5a. Total claims from Part 1                                                                           5a.          $                       8,525.86
5b. Total claims from Part 2                                                                           5b.    +     $                     387,560.37

5c. Total of Parts 1 and 2
    Lines 5a + 5b = 5c.                                                                                5c.          $                        396,086.23




Official Form 206 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 5 of 5




            24-00850-WLH11                    Doc 1          Filed 05/28/24               Entered 05/28/24 10:41:14                              Pg 20 of 40
Fill in this information to identify the case:

Debtor name       Underground Creative, LLC

United States Bankruptcy Court for the:     EASTERN DISTRICT OF WASHINGTON

Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.   Does the debtor have any executory contracts or unexpired leases?
       No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired
                                                                              lease

2.1.       State what the contract or            Lease of business
           lease is for and the nature of        space commonly
           the debtor's interest                 known as 11 South
                                                 Benton Street, Suite A,
                                                 Kennewick,
                                                 Washington 99336 at
                                                 $800 per month.
               State the term remaining          One (1) year beginning
                                                 4/1/24                             Scharold Enterprises, LLC
           List the contract number of any                                          610 W. Kennewick Avenue
                 government contract                                                Kennewick, WA 99336




Official Form 206G                        Schedule G: Executory Contracts and Unexpired Leases                                                    Page 1 of 1




           24-00850-WLH11                  Doc 1        Filed 05/28/24            Entered 05/28/24 10:41:14                      Pg 21 of 40
Fill in this information to identify the case:

Debtor name      Underground Creative, LLC

United States Bankruptcy Court for the:   EASTERN DISTRICT OF WASHINGTON

Case number (if known)
                                                                                                                               Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                     12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

    1. Do you have any codebtors?

   No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
   Yes

  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
     creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
     on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
           Column 1: Codebtor                                                                        Column 2: Creditor



          Name                        Mailing Address                                           Name                            Check all schedules
                                                                                                                                that apply:

   2.1    Jerrod Lindblom             916 W. 24th Avenue                                        Landon Center, LLC                 D
                                      Kennewick, WA 99337                                                                          E/F       3.10
                                                                                                                                   G




   2.2    Jerrod Lindblom             916 W. 24th Avenue                                        Numerica Credit                    D
                                      Kennewick, WA 99337                                       Union                              E/F       3.12
                                                                                                                                   G




   2.3    Jerrod Lindblom             916 W. 24th Avenue                                        First Interstate Bank              D   2.1
                                      Kennewick, WA 99337                                                                          E/F
                                                                                                                                   G




   2.4    Jerrod Lindblom             916 W. 24th Avenue                                        OnDeck Financing                   D
                                      Kennewick, WA 99337                                                                          E/F       3.13
                                                                                                                                   G




   2.5    Jerrod Lindblom             916 W. 24th Avenue                                        Samson MCA, LLC                    D   2.2
                                      Kennewick, WA 99337                                                                          E/F
                                                                                                                                   G




Official Form 206H                                                    Schedule H: Your Codebtors                                             Page 1 of 2



          24-00850-WLH11                  Doc 1      Filed 05/28/24            Entered 05/28/24 10:41:14                    Pg 22 of 40
Debtor    Underground Creative, LLC                                               Case number (if known)


         Additional Page to List More Codebtors
         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
          Column 1: Codebtor                                                          Column 2: Creditor



  2.6     Michael Page             7907 W. Falls Place                                 Landon Center, LLC                 D
                                   Kennewick, WA 99336                                                                    E/F   3.10
                                                                                                                          G




  2.7     Michael Page             7907 W. Falls Place                                 Numerica Credit                    D
                                   Kennewick, WA 99336                                 Union                              E/F   3.12
                                                                                                                          G




  2.8     Michael Page             7907 W. Falls Place                                 First Interstate Bank              D   2.1
                                   Kennewick, WA 99336                                                                    E/F
                                                                                                                          G




Official Form 206H                                              Schedule H: Your Codebtors                                      Page 2 of 2



          24-00850-WLH11             Doc 1        Filed 05/28/24        Entered 05/28/24 10:41:14               Pg 23 of 40
     DAN O’ROURKE
 1   SOUTHWELL & O’ROURKE, P.S.
     Attorneys at Law
 2   960 Paulsen Center
     W. 421 Riverside Avenue
 3   Spokane, WA 99201
     (509) 624-0159
 4
                              UNITED STATES BANKRUPTCY COURT
 5
                     IN AND FOR THE EASTERN DISTRICT OF WASHINGTON
 6

 7   In re:                                               No.: 24-

 8   UNDERGROUND CREATIVE, LLC,                           Chapter 11
 9
                    Debtor.                                     SCHEDULES I & J
10

11            Attached hereto and marked as Exhibit “A” is a true and correct copy of Debtor’s

12   Profit and Loss statement constituting Debtor’s Schedule I and J.
13

14
     DATED: 5/17/24                                   /s/ Jerrod Lindblom
15                                                    JERROD LINDBLOM

16

17   DATED: 5/17/24                                   /s/ Michael Page
                                                      MICHAEL PAGE
18

19

20

21

22

23

24

25                                                           SOUTHWELL & O'ROURKE, P.S.
      Schedules I & J-1
                                                                A PROFESSIONAL SERVICE CORPORATION
                                                                     ATTORNEYS AT LAW
                                                                 SUITE 960, PAULSEN CENTER
                                                                WEST 421 RIVERSIDE AVENUE
                                                                SPOKANE, WASHINGTON 99201
                                                                  TELEPHONE (509) 624-0159




     24-00850-WLH11         Doc 1   Filed 05/28/24   Entered 05/28/24 10:41:14                 Pg 24 of 40
24-00850-WLH11   Doc 1   Filed 05/28/24   Entered 05/28/24 10:41:14   Pg 25 of 40
24-00850-WLH11   Doc 1   Filed 05/28/24   Entered 05/28/24 10:41:14   Pg 26 of 40
Fill in this information to identify the case:

Debtor name         Underground Creative, LLC

United States Bankruptcy Court for the:    EASTERN DISTRICT OF WASHINGTON

Case number (if known)
                                                                                                                                  Check if this is an
                                                                                                                                  amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

Part 1:     Income

1. Gross revenue from business

          None.

      Identify the beginning and ending dates of the debtor’s fiscal year,            Sources of revenue                          Gross revenue
      which may be a calendar year                                                    Check all that apply                        (before deductions and
                                                                                                                                  exclusions)

      From the beginning of the fiscal year to filing date:                               Operating a business                               $287,672.04
      From 1/01/2024 to Filing Date
                                                                                          Other    Business


      For prior year:                                                                     Operating a business                             $1,717,011.06
      From 1/01/2023 to 12/31/2023
                                                                                          Other    Business


      For year before that:                                                               Operating a business                             $1,967,754.73
      From 1/01/2022 to 12/31/2022
                                                                                          Other    Business

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

          None.

                                                                                      Description of sources of revenue           Gross revenue from
                                                                                                                                  each source
                                                                                                                                  (before deductions and
                                                                                                                                  exclusions)

Part 2:     List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

          None.

      Creditor's Name and Address                                 Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                      Check all that apply




Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1




            24-00850-WLH11                Doc 1        Filed 05/28/24             Entered 05/28/24 10:41:14                     Pg 27 of 40
Debtor       Underground Creative, LLC                                                          Case number (if known)



      Creditor's Name and Address                                  Dates                 Total amount of value           Reasons for payment or transfer
                                                                                                                         Check all that apply
      3.1.
             Samson MCA, LLC                                       Since                            $27,443.56                Secured debt
             17 State Street                                       November                                                   Unsecured loan repayments
             6th Floor                                             15, 2023
                                                                                                                              Suppliers or vendors
             New York, NY 10004
                                                                                                                              Services
                                                                                                                              Other Weekly debt payment


      3.2.
             On Deck Financial                                                                      $84,270.00                Secured debt
             4700 W. Daybreak Pkwy                                                                                            Unsecured loan repayments
             Suite 200
                                                                                                                              Suppliers or vendors
             South Jordan, UT 84009
                                                                                                                              Services
                                                                                                                              Other Weekly debt payment



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount
   may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

          None.

      Insider's name and address                                   Dates                 Total amount of value           Reasons for payment or transfer
      Relationship to debtor
      4.1.   Jerrod Lindblom                                       3/1/23-3/1/24                    $92,367.44           Payroll and End of Year Bonus
             916 W. 24th Avenue                                                                                          of $5,000
             Kennewick, WA 99337
             Co-Owner

      4.2.   Michael Page                                          3/1/23-3/1/24                    $92,367.44           Payroll and End of Year Bonus
             7907 W. Falls Place                                                                                         of $5,000
             Kennewick, WA 99336
             Co-Owner

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

          None

      Creditor's name and address                      Describe of the Property                                        Date                  Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

          None

      Creditor's name and address                      Description of the action creditor took                         Date action was                Amount
                                                                                                                       taken

Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.



Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                      page 2




             24-00850-WLH11                Doc 1        Filed 05/28/24             Entered 05/28/24 10:41:14                         Pg 28 of 40
Debtor        Underground Creative, LLC                                                          Case number (if known)




          None.

              Case title                              Nature of case               Court or agency's name and                 Status of case
              Case number                                                          address
      7.1.    Samson MCA, LLC v. Debtor,              Suit to collect              Supreme Court                                 Pending
              et. al.                                                              State of New York                             On appeal
                                                                                   County of Rockland
                                                                                                                                 Concluded


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

          None


Part 4:       Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

          None

              Recipient's name and address            Description of the gifts or contributions                  Dates given                            Value


Part 5:       Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

          None

      Description of the property lost and            Amount of payments received for the loss                   Dates of loss               Value of property
      how the loss occurred                                                                                                                               lost
                                                      If you have received payments to cover the loss, for
                                                      example, from insurance, government compensation, or
                                                      tort liability, list the total received.

                                                      List unpaid claims on Official Form 106A/B (Schedule
                                                      A/B: Assets – Real and Personal Property).

Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

          None.

               Who was paid or who received             If not money, describe any property transferred               Dates                    Total amount or
               the transfer?                                                                                                                            value
               Address
      11.1.    Southwell & O'Rourke, P.S.
               421 W. Riverside Avenue
               Suite 960
               Spokane, WA 99201                        See 2016 Disclosure

               Email or website address
               dorourke@southwellorourke.com

               Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                      page 3




              24-00850-WLH11              Doc 1        Filed 05/28/24              Entered 05/28/24 10:41:14                       Pg 29 of 40
Debtor        Underground Creative, LLC                                                          Case number (if known)



    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

          None.

      Name of trust or device                             Describe any property transferred                    Dates transfers               Total amount or
                                                                                                               were made                              value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

          None.

              Who received transfer?                   Description of property transferred or                     Date transfer              Total amount or
              Address                                  payments received or debts paid in exchange                was made                            value
      13.1                                             Derek Munson gave his company shares
      .                                                to Michael and Jerrod in October of 2023
                                                       and left the company. No cash
              Derek Munson                             exchanged hands, but we released his
                                                       liability for debts.                                       10/1/2023                            $0.00

              Relationship to debtor
              None


 Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


          Does not apply

                Address                                                                                             Dates of occupancy
                                                                                                                    From-To
      14.1.     212 W. Kennewick Avenue                                                                             11/1/2019-6/1/2022
                Suite B
                Kennewick, WA 99336

      14.2.     4206 W. 24th Avenue                                                                                 6/1/22-4/1/24
                Suite B101
                Kennewick, WA 99336

Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

           No. Go to Part 9.
           Yes. Fill in the information below.


                Facility name and address              Nature of the business operation, including type of services                 If debtor provides meals
                                                       the debtor provides                                                          and housing, number of
                                                                                                                                    patients in debtor’s care

Part 9:       Personally Identifiable Information




Official Form 207                            Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 4




              24-00850-WLH11                Doc 1        Filed 05/28/24             Entered 05/28/24 10:41:14                       Pg 30 of 40
Debtor        Underground Creative, LLC                                                          Case number (if known)



16. Does the debtor collect and retain personally identifiable information of customers?

           No.
           Yes. State the nature of the information collected and retained.

                 Website addresses, emails, DNS records, and credit cards saved in
                 Quickbooks and Square for Automatic Payments
                 Does the debtor have a privacy policy about that information?
                   No
                    Yes

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

           No. Go to Part 10.
           Yes. Does the debtor serve as plan administrator?


Part 10:      Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

         None
             Financial Institution name and             Last 4 digits of           Type of account or          Date account was                  Last balance
             Address                                    account number             instrument                  closed, sold,                 before closing or
                                                                                                               moved, or                              transfer
                                                                                                               transferred
      18.1.    First Interstate Bank                    XXXX-7137                     Checking                 2/23/2024                                  $0.00
                                                                                      Savings
                                                                                      Money Market
                                                                                      Brokerage
                                                                                      Other

      18.2.    First Interstate Bank                    XXXX-7308                     Checking                 2/23/2024                                  $0.00
                                                                                      Savings
                                                                                      Money Market
                                                                                      Brokerage
                                                                                      Other


19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


         None

      Depository institution name and address                Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?
                                                             Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.




Official Form 207                            Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                      page 5




              24-00850-WLH11                Doc 1        Filed 05/28/24             Entered 05/28/24 10:41:14                       Pg 31 of 40
Debtor      Underground Creative, LLC                                                           Case number (if known)




         None

      Facility name and address                             Names of anyone with                  Description of the contents                   Does debtor
                                                            access to it                                                                        still have it?


Part 11:    Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

       None


Part 12:    Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

     Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
     owned, operated, or utilized.

     Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
     similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No.
           Yes. Provide details below.

      Case title                                            Court or agency name and              Nature of the case                            Status of case
      Case number                                           address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

           No.
           Yes. Provide details below.

      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

24. Has the debtor notified any governmental unit of any release of hazardous material?

           No.
           Yes. Provide details below.

      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

Part 13:    Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

         None

   Business name address                             Describe the nature of the business               Employer Identification number
                                                                                                       Do not include Social Security number or ITIN.

                                                                                                       Dates business existed

Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                        page 6




            24-00850-WLH11                 Doc 1        Filed 05/28/24             Entered 05/28/24 10:41:14                        Pg 32 of 40
Debtor      Underground Creative, LLC                                                           Case number (if known)



26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

      Name and address                                                                                                              Date of service
                                                                                                                                    From-To
      26a.1.        Insight Accounting                                                                                              1/22-1/24
                    110 Gage Blvd, Suite 100
                    Richland, WA 99352
      26a.2.        Jacob Rose                                                                                                      Current CPA
                    Highline Accounting


    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

             None


    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

             None

      Name and address                                                                               If any books of account and records are
                                                                                                     unavailable, explain why

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

             None

      Name and address
      26d.1.        No formal financial statements given



27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

           No
           Yes. Give the details about the two most recent inventories.

               Name of the person who supervised the taking of the                  Date of inventory        The dollar amount and basis (cost, market,
               inventory                                                                                     or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

      Name                                    Address                                             Position and nature of any                % of interest, if
                                                                                                  interest                                  any
      Jerrod Lindblom                         916 W. 24th Avenue                                  Co-owner                                  50%
                                              Kennewick, WA 99337

      Name                                    Address                                             Position and nature of any                % of interest, if
                                                                                                  interest                                  any
      Michael Page                            7907 W. Falls Place                                 Co-owner                                  50%
                                              Kennewick, WA 99336



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?




Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 7




            24-00850-WLH11                 Doc 1        Filed 05/28/24             Entered 05/28/24 10:41:14                      Pg 33 of 40
Debtor      Underground Creative, LLC                                                           Case number (if known)




           No
           Yes. Identify below.

      Name                                   Address                                              Position and nature of any        Period during which
                                                                                                  interest                          position or interest
                                                                                                                                    was held
      Derek Munson                           2515 W. Clearwater Avenue                            Co-owner                          11/1/2019-9/30/202
                                             Kennewick, WA 99336                                                                    3


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

           No
           Yes. Identify below.

             Name and address of recipient             Amount of money or description and value of               Dates              Reason for
                                                       property                                                                     providing the value

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

           No
           Yes. Identify below.

   Name of the parent corporation                                                                      Employer Identification number of the parent
                                                                                                       corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

           No
           Yes. Identify below.

   Name of the pension fund                                                                            Employer Identification number of the pension
                                                                                                       fund

Part 14:    Signature and Declaration

     WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
     connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
     18 U.S.C. §§ 152, 1341, 1519, and 3571.

     I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
     and correct.

     I declare under penalty of perjury that the foregoing is true and correct.

Executed on         5/17/2024

/s/ Michael Page                                                Michael Page
Signature of individual signing on behalf of the debtor         Printed name

/s/ Jerrod Lindblom ___________________________                 Jerrod Lindblom
Signature of individual signing on behalf of the debtor         Printed name

Position or relationship to debtor   Co-Owners & Members

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?

   No
   Yes




Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 8




            24-00850-WLH11                 Doc 1          Filed 05/28/24           Entered 05/28/24 10:41:14                   Pg 34 of 40
B2030 (Form 2030) (12/15)
                                                         United States Bankruptcy Court
                                                              Eastern District of Washington
 In re       Underground Creative, LLC                                                                          Case No.
                                                                                Debtor(s)                       Chapter      11

                        DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.    Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
      compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
      be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                    $                       *
             Prior to the filing of this statement I have received                                          $                       *
             Balance Due                                                                                    $                       *

2.    $     1,738.00       of the filing fee has been paid.          *$23,262.00 received for pre-petition fees and costs.

3.    The source of the compensation paid to me was:

                  Debtor              Other (specify):
                                                                     $425.00 per hour for Attorney Dan O'Rourke, $400.00 per hour
                                                                     for Attorney Kevin O'Rourke, and $140.00 per hour for
4.    The source of compensation to be paid to me is:                Paraglegal, plus costs.
                  Debtor              Other (specify):

5.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

6.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

      a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
      b. Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
      c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
      d. [Other provisions as needed]


7.    By agreement with the debtor(s), the above-disclosed fee does not include the following service:

                                                                       CERTIFICATION
      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
this bankruptcy proceeding.

     5/17/2024                                                                 /s/ Dan O'Rourke
     Date                                                                      Dan O'Rourke
                                                                               Signature of Attorney
                                                                               Southwell & O'Rourke, P.S.
                                                                               421 W. Riverside Avenue
                                                                               Suite 960
                                                                               Spokane, WA 99201
                                                                               509-624-0159 Fax: 509-624-9231
                                                                               dorourke@southwellorourke.com
                                                                               Name of law firm




             24-00850-WLH11                  Doc 1         Filed 05/28/24           Entered 05/28/24 10:41:14                     Pg 35 of 40
                                              United States Bankruptcy Court
                                                  Eastern District of Washington
 In re    Underground Creative, LLC                                                           Case No.
                                                                   Debtor(s)                  Chapter      11




                                  VERIFICATION OF CREDITOR MATRIX


I, the Co-Owner & Member of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true

and correct to the best of my knowledge.




Date:     5/17/2024                                    /s/ Michael Page
                                                       Michael Page/Co-Owner & Member
                                                       Signer/Title

Date:    5/17/2024_________________________            /s/ Jerrod Lindblom __________________________________________
                                                       Jerrod Linblom/Co-Owner & Member
                                                       Signer/Title




          24-00850-WLH11             Doc 1      Filed 05/28/24         Entered 05/28/24 10:41:14                Pg 36 of 40
}
b
k
1
{
C
r
e
d
i
t
o
A
s
M
a
x




                       UNDERGROUND CREATIVE, LLC
                       11 SOUTH BENTON STREET
                       SUITE A
                       KENNEWICK, WA 99336



                       DAN O'ROURKE
                       SOUTHWELL & O'ROURKE, P.S.
                       421 W. RIVERSIDE AVENUE
                       SUITE 960
                       SPOKANE, WA 99201



                       CALLSOURCE
                       PO BOX 60280
                       LOS ANGELES, CA 90060-0280



                       CALLSOURCE
                       5601 LINDERO CANYON ROAD
                       SUITE 210
                       WESTLAKE VILLAGE, CA 91362



                       FIRST INTERSTATE BANK
                       8127 W. GRANDRIDGE BLVD
                       KENNEWICK, WA 99336



                       FOX KFFX
                       6725 W. CLEARWATER AVE., SUITE A
                       KENNEWICK, WA 99336



                       INSIGHT ACCOUNTING
                       110 GAGE BLVD STE 100
                       RICHLAND, WA 99352



                       JACOBS RADIO
                       2617 W. FALLS AVENUE
                       KENNEWICK, WA 99336



                       JAMLOOP
                       1261 LOCUST ST #72
                       WALNUT CREEK, CA 94596


    24-00850-WLH11   Doc 1   Filed 05/28/24   Entered 05/28/24 10:41:14   Pg 37 of 40
                   JERROD LINDBLOM
                   916 W. 24TH AVENUE
                   KENNEWICK, WA 99337



                   KEPR/KIMA
                   2807 W. LEWIS
                   PASCO, WA 99301



                   KNDU
                   3312 W. KENNEWICK AVENUE
                   KENNEWICK, WA 99336



                   KVEW (APPLE VALLEY BROADCASTING)
                   601 N. EDISON STREET
                   KENNEWICK, WA 99336



                   LANDON CENTER, LLC
                   4707 W. 20TH AVENUE
                   KENNEWICK, WA 99338



                   MICHAEL PAGE
                   7907 W. FALLS PLACE
                   KENNEWICK, WA 99336



                   NUMERICA CREDIT UNION
                   14610 E. SPRAGUE AVENUE
                   SPOKANE VALLEY, WA 99216



                   ONDECK FINANCING
                   4700 W. DAYBREAK PARKWAY
                   SUITE 200
                   SOUTH JORDAN, UT 84009



                   QUICKBOOKS CAPITAL
                   2700 COAST AVENUE
                   MOUNTAIN VIEW, CA 94043




24-00850-WLH11   Doc 1   Filed 05/28/24   Entered 05/28/24 10:41:14   Pg 38 of 40
                   SAMSON MCA, LLC
                   17 STATE STREET
                   6TH FLOOR
                   NEW YORK, NY 10004



                   SCHAROLD ENTERPRISES, LLC
                   610 W. KENNEWICK AVENUE
                   KENNEWICK, WA 99336



                   SPECTRUM
                   400 COLUMBIA POINT DRIVE
                   RICHLAND, WA 99352



                   STATE OF WASHINGTON
                   DEPARTMENT OF REVENUE
                   1330 N. WASHINGTON ST., SUITE 5600
                   SPOKANE, WA 99207



                   STEPHENS MEDIA
                   4304 W. 24TH AVE., SUITE 200
                   KENNEWICK, WA 99336



                   SZABO ASSOCIATES, INC.
                   3355 LENOX ROAD NE, SUITE 945
                   ATLANTA, GA 30326



                   TOWNSQUARE MEDIA
                   2621 W. A STREET
                   PASCO, WA 99301



                   TRI CITIES JOURNAL OF BUSINESS
                   8524 W. GAGE BLVD A1-300
                   KENNEWICK, WA 99336



                   TU DECIDES
                   1 WEST YAKIMA AVENUE
                   YAKIMA, WA 98902




24-00850-WLH11   Doc 1   Filed 05/28/24   Entered 05/28/24 10:41:14   Pg 39 of 40
                   YAKIMA HERALD
                   114 N. 4TH STREET
                   YAKIMA, WA 98901




24-00850-WLH11   Doc 1   Filed 05/28/24   Entered 05/28/24 10:41:14   Pg 40 of 40
